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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                  CASE:
  ACCESS 4 ALL INCORPORATED
  and JOE HOUSTON,

              Plaintiffs,
  v.

  NEW GLOBAL HOLDINGS, INC. and
  BMS CORPORATION OF SAMPLE
  ROAD D/B/A SUPER K FOOD STORE,

          Defendants.
  ______________________________________/

                                              COMPLAINT

         Plaintiffs, ACCESS 4 ALL INCORPORATED and JOE HOUSTON, individually and on

  behalf of all other similarly situated mobility-impaired individuals (hereinafter “Plaintiffs”), sue

  NEW GLOBAL HOLDINGS, INC. and BMS CORPORATION OF SAMPLE ROAD D/B/A

  SUPER K FOOD STORE (hereinafter “Defendants”), and as grounds allege:

                               JURISDICTION, PARTIES. AND VENUE

         1.         This is an action for injunctive relief, a declaration of rights, attorneys' fees,

  litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

  Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

         2.         The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

  § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

         3.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and 2202,

  and may render declaratory judgment on the existence or nonexistence of any right under 42

  U.S.C. § 12181, et seq.

         4.         Plaintiff, JOE HOUSTON, is an individual over eighteen years of age, with a
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  residence in Broward County, Florida, and is otherwise sui juris.

            5.    Plaintiff, ACCESS 4 ALL INCORPORATED, is a Florida Not For Profit

  Corporation, formed under the laws of the State of Florida, and maintains its principal office at

  Torrence, California.

            6.    At all times material, Defendant, NEW GLOBAL HOLDINGS, INC., a Florida

  Corporation, owned and/or operated a place of public accommodation located at 1500 E Sample

  Road Pompano Beach, Florida 33064 (hereinafter the “Commercial Property”) and conducted a

  substantial amount of business in that place of public accommodation in Broward County, Florida.

            7.    At all times material, Defendant, NEW GLOBAL HOLDINGS, INC, was and is a

  Florida Corporation, incorporated under the laws of the State of Florida, with its principal place

  of business in Plantation, Florida.

            8.    At all times material, Defendant, BMS CORPORATION OF SAMPLE ROAD,

  owned and operated a commercial retain store located at 1500 E Sample Road Pompano Beach,

  Florida 33064 (hereinafter the “Commercial Property”) and conducted a substantial amount of

  business in that place of public accommodation in Broward County, Florida. Defendant, THE

  BMS CORPORATION OF SAMPLE ROAD, holds itself out to the public as “Super K Food

  Store.”

            9.    At all times material, Defendant, BMS CORPORATION OF SAMPLE ROAD,

  was and is a Florida Corporation, organized under the laws of the State of Florida, with its

  principal place of business in Plantation, Florida.

            10.   Venue is properly located in the Southern District of Florida because Defendants’

  Commercial Property is located in Broward County, Florida, Defendants regularly conduct

  business within Broward County, Florida, and because a substantial part(s) of the events or



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  omissions giving rise to these claims occurred in Broward County, Florida.

                                    FACTUAL ALLEGATIONS

         11.     Although nearly thirty (30) years have passed since the effective date of Title III

  of the ADA, Defendants have yet to make its facilities accessible to individuals with disabilities.

         12.     Congress provided commercial businesses one and a half years to implement the

  Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the extensive

  publicity the ADA has received since 1990, Defendants continue to discriminate against people

  who are disabled in ways that block them from access and use of Defendants’ businesses and

  properties.

         13.     The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

  requires landlords and tenants to be liable for compliance

         14.     Plaintiff, JOE HOUSTON, is an individual with disabilities as defined by and

  pursuant to the ADA. Plaintiff, JOE HOUSTON, is substantially limited in major life activities

  due to his impairment and requires the use of a wheelchair to ambulate. He has very limited use

  of his hands and cannot operate any mechanisms, which require tight grasping or twisting of the

  wrist. Plaintiff, JOE HOUSTON, is also a member of the organization, ACCESS 4 ALL

  INCORPORATED, discussed below.

         15.     Defendant, NEW GLOBAL HOLDINGS, INC, owns, operates and oversees the

  Commercial Property, its general parking lot and parking spots.

         16.     The subject Commercial Property is open to the public and is located in Plantation,

  Broward County, Florida.

         17.     The individual Plaintiff visits the Commercial Property and businesses located

  within the Commercial Property, regularly, to include visits to the Commercial Property and



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  businesses located within the Commercial Property on or about January 28, 2022 and encountered

  multiple violations of the ADA that directly affected his ability to use and enjoy the Commercial

  Property and businesses located therein. He often visits the Commercial Property and businesses

  located within the Commercial Property in order to avail himself of the goods and services offered

  there, to perform services including but not limited to recruitment of new members on behalf of

  ACCESS 4 ALL INCORPORATED, because it is approximately two (2) miles from his residence,

  and is near other businesses and restaurants he frequents as a patron. He plans to return to the

  Commercial Property and the businesses located within the Commercial Property within two (2)

  months of the filing of this Complaint, specifically on or before April 9, 2022.

         18.     Plaintiff resides nearby in the same County and state as the Commercial Property

  and the businesses located within the Commercial Property, has regularly frequented the

  Defendants’ Commercial Property and the businesses located within the Commercial Property for

  the intended purposes because of the proximity to his residence and other businesses that he

  frequents as a patron, and intends to return to the Commercial Property and businesses located

  within the Commercial Property within two (2) months from the filing of this Complaint,

  specifically on or before April 9, 2022.

         19.     The Plaintiff found the Commercial Property, and the businesses located within the

  Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

  barriers at the Commercial Property, and businesses located within the Commercial Property and

  wishes to continue his patronage and use of each of the premises.

         20.     ACCESS 4 ALL INCORPORATED, is a not-for-profit Florida corporation.

  Members of this organization include individuals with disabilities as defined by the ADA, and

  are representative of a cross-section of the disabilities protected from discrimination by the ADA.



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  The purpose of this organization is to represent the interest of its members by assuring places of

  public accommodation are accessible to and usable by the disabled and that its members are not

  discriminated against because of their disabilities. ACCESS 4 ALL INCORPORATED, and its

  members have suffered and will continue to suffer direct and indirect injury as a result of the

  Defendant's discrimination until the Defendant is compelled to comply with the requirements of

  the ADA. One or more of its members has suffered an injury that would allow him or her to bring

  suit in his or her own right. Plaintiff, JOE HOUSTON, has also been discriminated against because

  of its association with its disabled members and their claims.

          21.    The Plaintiff has encountered architectural barriers that are in violation of the ADA

  at the subject Commercial Property, and businesses located within the Commercial Property. The

  barriers to access at the Commercial Property, and the businesses located within the Commercial

  Property have each denied or diminished Plaintiff’s ability to visit the Commercial Property, and

  businesses located within the Commercial Property, and have endangered his safety in violation

  of the ADA. The barriers to access, which are set forth below, have likewise posed a risk of

  injury(ies), embarrassment, and discomfort to Plaintiff, JOE HOUSTON, and others similarly

  situated.

          22.    Defendants, NEW GLOBAL HOLDINGS, INC. and BMS CORPORATION OF

  SAMPLE ROAD, own and/or operate a place of public accommodation as defined by the ADA

  and the regulations implementing the ADA, 28 CFR 36.201 (a) and 36.104. Defendants NEW

  GLOBAL HOLDINGS, INC. and BMS CORPORATION OF SAMPLE ROAD, are responsible

  for complying with the obligations of the ADA. The place of public accommodation that

  Defendants, NEW GLOBAL HOLDINGS, INC. and BMS CORPORATION OF SAMPLE

  ROAD, own and operate the Commercial Property Business located at 1500 E Sample Rd



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  Pompano Beach, Florida 33064.

         23.     Plaintiffs, ACCESS 4 ALL INCORPORATED and JOE HOUSTON, have a

  realistic, credible, existing and continuing threat of discrimination from the Defendants’ non-

  compliance with the ADA with respect to the described Commercial Property and the businesses

  located within the Commercial Property, including but not necessarily limited to the allegations in

  Count I of this Complaint. Plaintiff has reasonable grounds to believe that he will continue to be

  subjected to discrimination at the Commercial Property, and businesses located within the

  Commercial Property, in violation of the ADA. Plaintiff desires to visit the Commercial Property

  and businesses located therein, not only to avail himself of the goods and services available at the

  Commercial Property, and businesses located within the Commercial Property, but to assure

  himself that the Commercial Property and businesses located within the Commercial Property are

  in compliance with the ADA, so that he and others similarly situated will have full and equal

  enjoyment of the Commercial Property, and businesses located within the Commercial Property

  without fear of discrimination.

         24.     Defendant, NEW GLOBAL HOLDINGS, INC, as landlord and owner of the

  Commercial Property Business, is responsible for all ADA violations listed in Count I.

         25.     Plaintiff, JOE HOUSTON, has a realistic, credible, existing and continuing threat

  of discrimination from the Defendants’ non-compliance with the ADA with respect to the

  described Commercial Property and businesses located within the Commercial Property, but not

  necessarily limited to the allegations in Count I of this Complaint. Plaintiff has reasonable grounds

  to believe that he will continue to be subjected to discrimination at the Commercial Property, and

  businesses within the Commercial Property, in violation of the ADA. Plaintiff desires to visit the

  Commercial Property and businesses within the Commercial Property, not only to avail himself



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  of the goods and services available at the Commercial Property and businesses located within the

  Commercial Property, but to assure himself that the Commercial Property, and businesses located

  within the Commercial Property are in compliance with the ADA, so that he and others similarly

  situated will have full and equal enjoyment of the Commercial Property, and businesses located

  within the Commercial Property without fear of discrimination.

         26.     Defendants have discriminated against the individual Plaintiff by denying him

  access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

  and/or accommodations of the Commercial Property, and businesses located within the

  Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.

                               COUNT I – ADA VIOLATIONS
                          AS TO NEW GLOBAL HOLDINGS, INC. and
                           BMS CORPORATION OF SAMPLE ROAD

         27.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

  26 above as though fully set forth herein.

         28.     Defendant, NEW GLOBAL HOLDINGS, INC., has discriminated, and continues

  to discriminate, against Plaintiff in violation of the ADA by failing, inter alia, to have accessible

  facilities by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees and

  gross receipts of $500,000 or less). A list of the violations that Plaintiff encountered during his

  visit to the Commercial Property, include but are not limited to, the following:

      A. Parking

    i.   Accessible parking sign is missing. This prevented Mr. Houston’s finding designated

         accessible parking, violating 2010 ADAS Section 502.

   ii.   Access aisle contains a slope that measures >3%, denying Mr. Houston the ability to safely

         unload at the facility from his vehicle without assistance, violating 2010 ADAS Section



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             502.

      iii.   Accessible parking space is located on a slope that measures >3%. This is a violation of

             2010 ADAS Section 502

          B. Entrance Access and Path of Travel

          C. Missing walkways and markings impede Mr. Houston’s path of travel to enter Super K

             Food Store from sidewalks and public transit violating the ADAAG and 2010 ADAS

             Sections 402 and 403, where the solutions are readily achievable.

          D. Access to Goods and Services

        i.   Super K Food Store fails to make reasonable accommodations in policies practices and

             procedures to provide full and equal enjoyment of disabled individuals and does not

             maintain the elements required to be accessible and usable by persons with disabilities

             violating 28 CFR 36.211 of the ADAAG and the 2010 ADA Standards.

      ii.    Super K Food Store counter height exceeds prescribed limits preventing Mr. Houston from

             signing credit card receipts and checks or accessing goods stored on the countertop

             violating 2010 ADAS Sections 902 and 904.

      iii.   Mr. Houston was unable to maneuver his power chair to access and enjoy the video gaming

             machines located in the Super K Food Store due to an aisle that had a clear width

             infringement, a violation of the 2010 ADAS Section 403.

          E. Access to Restroom

 i.       Mr. Houston was unable to use the restroom at Super K Food Store due to obstructions on the

          route to the entry violating 2010 ADAS Section 403.

                                   RELIEF SOUGHT AND THE BASIS

             29.    The discriminatory violations described in Counts I are not an exclusive list of the



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  Defendants’ ADA violations. Plaintiff requests an inspection of the Defendants’ places of public

  accommodation in order to photograph and measure all of the discriminatory acts violating the

  ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff further requests

  to inspect any and all barriers to access that were concealed by virtue of the barriers' presence,

  which prevented Plaintiff, JOE HOUSTON, from further ingress, use, and equal enjoyment of the

  Commercial Business and businesses located within the Commercial Property; Plaintiff requests

  to be physically present at such inspection in conjunction with Rule 34 and timely notice. A

  complete list of the Subject Premises’ ADA violations, and the remedial measures necessary to

  remove same, will require an on-site inspection by Plaintiff’s representatives pursuant to Federal

  Rule of Civil Procedure 34.

         30.     The individual Plaintiff, and all other individuals similarly situated, have been

  denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

  privileges, benefits, programs and activities offered by Defendants, Defendants’ buildings,

  businesses and facilities; and has otherwise been discriminated against and damaged by the

  Defendants because of the Defendants’ ADA violations as set forth above. The individual

  Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

  damage without the immediate relief provided by the ADA as requested herein. In order to remedy

  this discriminatory situation, The Plaintiff requires an inspection of the Defendants’ place of public

  accommodation in order to determine all of the areas of non-compliance with the Americans with

  Disabilities Act.

         31.     Defendants have discriminated against the individual Plaintiff by denying him

  access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations of its place of public accommodation or commercial facility, in violation of 42



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  U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, Defendants continue to

  discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

  modifications in policies, practices or procedures, when such modifications are necessary to afford

  all offered goods, services, facilities, privileges, advantages or accommodations to individuals

  with disabilities; and by failing to take such efforts that may be necessary to ensure that no

  individual with a disability is excluded, denied services, segregated or otherwise treated differently

  than other individuals because of the absence of auxiliary aids and services.

          32.     Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has a

  clear legal right to the relief sought. Further, injunctive relief will serve the public interest and all

  those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is entitled

  to recover attorneys’ fees, costs and litigation expenses from Defendants pursuant to 42 U.S.C. §

  12205 and 28 CFR 36.505.

          33.     A Defendant is required to remove the existing architectural barriers to the

  physically disabled when such removal is readily achievable for their place of public

  accommodation, The Plaintiff and all others similarly situated, will continue to suffer such

  discrimination, injury and damage without the immediate relief provided by the ADA as requested

  herein. In order to remedy this discriminatory situation, The Plaintiff requires an inspection of the

  Defendants’ place of public accommodation in order to determine all of the areas of non-

  compliance with the Americans with Disabilities Act.

          34.     Notice to Defendants is not required as a result of the Defendants’ failure to cure

  the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

  and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

  or waived by the Defendants.



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         35.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

  Plaintiff Injunctive Relief, including an order to alter the property where Defendants operate their

  businesses, located at and/or within the commercial property located at 1500 E Sample Road

  Pompano Beach, Florida 33064 the exterior areas, and the common exterior areas of the

  Commercial Property and businesses located within the Commercial Property, to make those

  facilities readily accessible and useable to The Plaintiff and all other mobility-impaired persons;

  or by closing the facility until such time as the Defendants cure the violations of the ADA.

             WHEREFORE, The Plaintiffs, ACCESS 4 ALL INCORPORATED and JOE

  HOUSTON, respectfully request that this Honorable Court issue (i) a Declaratory Judgment

  determining Defendants at the commencement of the subject lawsuit were and are in violation of

  Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.; (ii) Injunctive relief

  against Defendants including an order to make all readily achievable alterations to the facilities;

  or to make such facilities readily accessible to and usable by individuals with disabilities to the

  extent required by the ADA; and to require Defendants to make reasonable modifications in

  policies, practices or procedures, when such modifications are necessary to afford all offered

  goods, services, facilities, privileges, advantages or accommodations to individuals with

  disabilities; and by failing to take such steps that may be necessary to ensure that no individual

  with a disability is excluded, denied services, segregated or otherwise treated differently than other

  individuals because of the absence of auxiliary aids and services; (iii) An award of attorneys’ fees,

  costs and litigation expenses pursuant to 42 U.S.C. § 12205; and (iv) such other relief as the Court

  deems just and proper, and/or is allowable under Title III of the Americans with Disabilities Act.




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     Dated: February 11, 2022

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